Case 18-50214-rlj11 Doc 271 Filed 09/17/18                Entered 09/17/18 23:54:04          Page 1 of 35



Bryan J. Wick
Texas State Bar No. 24003169
bryan.wick@wickphillips.com
Jason M. Rudd
Texas State Bar No. 24028786
jason.rudd@wickphillips.com
WICK PHILLIPS GOULD & MARTIN, LLP
3131 McKinney Avenue, Suite 100
Dallas, Texas 75204
Phone: (214) 692-6200
Fax: (214) 692-6255

COUNSEL FOR VISTA BANK

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    LUBBOCK DIVISION

    In re:                                            §
                                                      §           Case No.: 18-50214-rlj-11
    REAGOR-DYKES MOTORS, LP, et al.,                  §
                                                      §           (Jointly Administered)
             Debtors.1                                §
                                                      §



                     CREDITOR VISTA BANK’S AMENDED MOTION FOR
                          RELIEF FROM THE AUTOMATIC STAY


                  PURSUANT TO LOCAL BANKRUPTCY RULE 4001-1(b), A
                  RESPONSE IS REQUIRED TO THIS MOTION, OR THE
                  ALLEGATIONS IN THE MOTION MAY BE DEEMED
                  ADMITTED, AND AN ORDER GRANTING THE RELIEF
                  SOUGHT MAY BE ENTERED BY DEFAULT.

                  ANY RESPONSE SHALL BE IN WRITING AND FILED
                  WITH THE CLERK OF THE UNITED STATES
                  BANKRUPTCY COURT AT GEORGE MAHON FEDERAL
                  BUILDING, 1205 TEXAS AVENUE., RM 306, LUBBOCK,
                  TEXAS 79401-4002 BEFORE CLOSE OF BUSINESS ON
                  OCTOBER 2, 2018 WHICH IS AT LEAST 14 DAYS FROM
                  THE DATE OF SERVICE HEREOF. A COPY SHALL BE

1
 The Debtors in these cases are Reagor-Dykes Motors, LP, Reagor-Dykes Imports, LP, Reagor-Dykes Amarillo, LP,
Reagor-Dykes Auto Company, LP, Reagor-Dykes Plainview, LP, and Reagor-Dykes Floydada LP.

MOTION TO LIFT STAY                                                                                  PAGE 1
Case 18-50214-rlj11 Doc 271 Filed 09/17/18                      Entered 09/17/18 23:54:04               Page 2 of 35



                    SERVED UPON COUNSEL FOR THE MOVING PARTY
                    AND ANY TRUSTEE OR EXAMINER APPOINTED IN THE
                    CASE. ANY RESPONSE SHALL INCLUDE A DETAILED
                    AND COMPREHENSIVE STATEMENT AS TO HOW THE
                    MOVANT CAN BE “ADEQUATELY PROTECTED” IF THE
                    STAY IS TO BE CONTINUED.

                             [This Motion Amends and Replaces Docket No. 266]

           Vista Bank files this Motion for Relief from the Automatic Stay (the “Motion”), and

respectfully states as follows:

                                      I. PRELIMINARY STATEMENT

           Vista seeks relief from the automatic stay to enforce its rights in a secured claim against

the Debtors based upon a promissory note executed on June 6, 2017 (the “Note”).2 The Note

reflects a loan for a principal amount of $2,000,000.00 (“Principal Amount”). Debtors agreed to

pay the Principal Amount, together with interest, in connection with the terms of the Note. The

Note is secured by the CD which is intended to satisfy Debtors’ indebtedness in the event of

default.3 Debtors have defaulted on the Note which accelerated upon the Debtors’ bankruptcy

filing and is still accumulating daily interest and fees in conjunction with its satisfaction. The

outstanding Principal Amount due and owing is $1,957,227.524.

           Vista respectfully submits that cause exists under Bankruptcy Code Section 362(d) to lift

the stay and allow Vista to apply the CD to the outstanding Principal Amount, interest and fees

associated with the Note.



2
    A true and correct copy of the Note is attached hereto as Exhibit A.
3
 A true and correct copy of the Certificate of Deposit is attached hereto as Exhibit B; a true and current copy of the
Assignment of Deposit Account is attached hereto as Exhibit C.
4
  The principal amount of all claims against the debtor is accelerated upon the debtor’s bankruptcy filing. In re Am.
Remanufacturers, Inc., 451 B.R. 349, 367 (Bankr. D. Del. 2011) (citing to Nationwide Mut. Ins. Co. v. Optel, Inc. (In
re Optel, Inc.), 60 Fed.Appx. 390, 394 (3d Cir.2003) (“ ‘It is a basic tenet of the Bankruptcy Code that bankruptcy
operates as the acceleration of the principal amount of all claims against the debtor.’ ”). A true and correct copy of the
Loan Balance Information is attached hereto as Exhibit D.

MOTION TO LIFT STAY                                                                                               PAGE 2
Case 18-50214-rlj11 Doc 271 Filed 09/17/18                     Entered 09/17/18 23:54:04     Page 3 of 35



                                      II. JURISDICTION AND VENUE

              1.       The Court has jurisdiction over this Motion under 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A), (G), and (O). Venue is proper

under 28 U.S.C. §§ 1408 and 1409.

              2.       The statutory predicate for the relief sought in this Motion is 11 U.S.C. § 362.

                                          III. BACKGROUND FACTS

              1.       On June 6, 2017, Reagor Dykes Auto Company, L.P., Reagor-Dykes Imports, LP,

and Reagor-Dykes Plainview, L.P. (collectively the “Debtors”) entered into a promissory note for

loan number 73579.5 The principal amount of the loan was $2,000,000.00 with a maturity date of

June 6, 2018.6

              3.       On June 6, 2017, Debtors additionally executed a certificate of deposit (the “CD”).7

The CD secured the Note as well as the Debtors’ additional indebtedness with Vista.8 The

Assignment states, “Upon the occurrence of an Event of Default, or at any time thereafter, Lender

may exercise any one or more of the following rights and remedies, in addition to any rights or

remedies that may be available at law, in equity, or otherwise: Lender may take directly all funds

in the Account and apply them to the Indebtedness.”9

              4.       On June 6, 2017, Vista provided the Debtors with a Collateral Receipt showing CD

Account Number 6325371 served as collateral for Loan Number 73579, the Note.10




5
    See Exhibit A at pg. 1.
6
    See id.
7
    See Exhibit B; see Declaration of Toby Cecil attached hereto as Exhibit E.
8
    See Exhibit C.
9
    See id at pg. 3.
10
     See Collateral Receipt attached hereto as Exhibit F.

MOTION TO LIFT STAY                                                                                  PAGE 3
Case 18-50214-rlj11 Doc 271 Filed 09/17/18                   Entered 09/17/18 23:54:04        Page 4 of 35



           5.            On June 12, 2018, the Debtors executed a Change in Terms Agreement, extending

 the Note’s maturity date to June 6, 2019.11

           6.            On August 1, 2018, the Debtors filed these Chapter 11 cases, resulting in the

 acceleration of the Note pursuant to operation of law. The Debtors have failed to repay the

 accelerated balance of the Note and are in default.12 The Note further states, “The Post Maturity

 Rate on this Note is the lesser of (a) the maximum rate allowed by law or (b) 18.000% per annum

 based on a year of 360 days. Borrower will pay interest on all sums due after final maturity,

 whether by acceleration or otherwise, at that rate.”13

                                          IV. REQUEST FOR RELIEF

            7.           By this Motion, Vista requests the Court grant relief from the automatic stay under

11 U.S.C § 362(d) to allow Vista to recover its secured interest under the Note by applying the CD

to the amount due and owing. Lifting the stay is appropriate in this instance under Bankruptcy

Code § 362(d).

                                     V. ARGUMENT AND AUTHORITIES

            8.           Section 362(d) of the Code provides two avenues for the lifting, modifying or

conditioning of a stay. The first is “for cause, including the lack of adequate protection of an

interest in property of such party in interest.” 11 U.S.C.A. § 362(d)(1). The Bankruptcy Code does

not define “cause.” See In re Little Creek Dev., 779 F.2d 1068, 1072 (5th Cir. 1986); In re Trust,

526 B.R. 668, 673 n.11 (Bankr. N.D. Tex. 2015) (Houser, J.). Cause “is an intentionally broad

and flexible concept, made so in order to permit the courts to respond in equity to inherently fact-

sensitive situations.” Mooney v. Gill, 310 B.R. 543, 546-47 (Bankr. N.D. Tex. 2002). This Court


11
     See Exhibit G.
12
     See Exhibit A at pg. 2.
13
     See id. at pg. 1.

MOTION TO LIFT STAY                                                                                  PAGE 4
Case 18-50214-rlj11 Doc 271 Filed 09/17/18           Entered 09/17/18 23:54:04          Page 5 of 35



therefore has discretion to determine what constitutes “cause” to grant stay relief. See, In re Trust,

526 B.R. at 673 n.11 (“The term ‘cause’ is not defined in the statute ‘so as to afford flexibility to

the bankruptcy courts”) (citing In re Little Creek Dev., 779 F.2d at 1072).

       9.      The second avenue is if the debtor has no equity in the property and the property is

not necessary to an effective reorganization. 11 U.S.C. §§ 362(d)(2). No limitations are placed on

a secured creditor’s ability to recover collateralized property, such as the Note, by obtaining relief

from the automatic stay. Delta Savs. & Loan Ass’n v. IRS, 847 F.2d 248, 250 (5th Cir. 1988); In

re Timbers of Inwood Forest Assocs, Ltd., 793 F.2d 1380, 1388 (5th Cir. 1986).

       10.     In this case, “cause” clearly exists to lift the automatic stay because Vista’s security

interest is not adequately protected, the Debtors do not have equity in the CD, and the CD securing

the Note is not essential and necessary to the Debtors’ reorganization.

A.     Vista is not Adequately Protected, and the Debtors cannot provide Adequate
       Protection.

       11.     Section 362(d)(1) instructs courts to grant relief from the automatic stay where

 there exists cause to do so. The section explicitly includes lack of adequate protection as a ground

 for relief from stay, but “cause” is not otherwise defined in the Code. Therefore, determining

 whether cause exists involves case-by-case scrutiny. In re Reitnauer, 152 F.3d 341, 343 n.4 (5th

 Cir. 1998); In re Sentry Park, Ltd., 87 B.R. 427, 430 (Bankr. W.D. Tex. 1988). As the Court is

 aware, the Debtors are accused of extensive financial deceit which includes mass indebtedness to

 multiple banking institutions. As such, the Debtors have no alternative assets available beyond

 the CD to apply to the outstanding Note balance. The Debtors carry the burden of proof on issues




MOTION TO LIFT STAY                                                                             PAGE 5
Case 18-50214-rlj11 Doc 271 Filed 09/17/18               Entered 09/17/18 23:54:04      Page 6 of 35



 of adequate protection. 11 U.S.C. §§ 362(g) and 363(p). The Debtors cannot meet their burden

 on the issue of adequate protection as the Debtors are unable to provide Vista adequate protection.

B.         The Debtors do not have equity in the CD, which is not essential to the Debtors’
           reorganization.

           12.        The Bankruptcy Code provides that a bankruptcy court shall grant relief from the

automatic stay with respect to property if (i) the debtor does not have equity in such property and

(ii) such property is not necessary to an effective reorganization. 11 U.S.C. § 362(d)(2). Equity

as used in section 362(d) is the difference between the value of the subject property and the

encumbrances against it.” Sutton v. Bank One, Texas, N.A., 904 F.2d 327, 329 (5th Cir.1990)

(citing Stewart v. Gurley, 745 F.2d 1194 (9th Cir.1984). It is undisputed that the note has

accelerated and the Debtors have not made all or a significant portion of the payments on the Note.

As of the Debtors’ petition date, the outstanding Principal Amount, $1,957,227.52, was due and

owing. The Note’s Principal Amount has gained interest at a rate of $163.10 a day.14 The Note’s

daily accruing interest and fees, as well as the Debtors’ other liabilities to Vista secured by the CD,

consume the full balance of the CD, leaving the Debtors no equity.

          13.         In addition, the CD securing the Note is not necessary to the Debtors’ effective

 reorganization. It is the Debtors’ burden to establish the property is necessary for an effective

 reorganization. In re Endrex Exploration Co., 101 B.R. 474, 476 (N.D. Tex. 1988). The Debtors

 are unable to apply the CD to satisfy any other obligations outside of those with Vista. The CD is

 not a transferable interest by its nature and was intended only to satisfy the Debtors’ obligation

 on the Note. As such, it is clear the CD is not necessary for the Debtors’ effective reorganization.

 In re Plastech Engineered Products, Inc., 382 B.R. 90, 99 (Bankr. E.D. Mich. 2008) (establishing



14
     See Exhibit D.

MOTION TO LIFT STAY                                                                             PAGE 6
Case 18-50214-rlj11 Doc 271 Filed 09/17/18            Entered 09/17/18 23:54:04         Page 7 of 35



 that property is necessary to an effective reorganization so as to preclude stay relief as to property

 based on debtor's lack of equity in the property requires not merely a showing that, if there is

 conceivably to be an effective reorganization, then the property will be needed for that

 reorganization; rather, property must be essential for effective reorganization that is in prospect

 in sense that there is reasonable possibility of successful reorganization within reasonable time).

       14.      Because the Debtors have no equity in the CD, which is not essential to the Debtors’

 effective reorganization, “cause” exists to lift the automatic stay and allow Vista to apply the CD

 to the Debtors’ defaulted upon Note.

                                        VI. CONCLUSION

        WHEREFORE, Vista respectfully requests the Court grant relief from the automatic stay

under 11 U.S.C. § 362(d) to allow Vista to recover its secured interest under the Note by applying

the CD to the amount due and owing. Vista respectfully requests the Court lift the automatic stay

and grant such other relief to which it may be justly entitled.

                                           Respectfully submitted,

                                            /s/ Jason M. Rudd
                                           Bryan J. Wick
                                           Texas State Bar No. 24003169
                                           bryan.wick@wickphillips.com
                                           Jason M. Rudd
                                           Texas State Bar No. 24028786
                                           jason.rudd@wickphillips.com
                                           WICK PHILLIPS GOULD &MARTIN, LLP
                                           3131 McKinney Avenue, Suite 100
                                           Dallas, Texas 75204
                                           Telephone: (214) 692-6200
                                           Facsimile: (214) 692-6255
                                           COUNSEL FOR VISTA BANK




MOTION TO LIFT STAY                                                                             PAGE 7
Case 18-50214-rlj11 Doc 271 Filed 09/17/18         Entered 09/17/18 23:54:04       Page 8 of 35




                            CERTIFICATE OF CONFERENCE

       I certify that, on September 17, 2018, I conferred with Marcus A. Helt, counsel for the
Debtors. Mr. Helt indicated the Debtors are opposed to the relief requested at this time, and
agreement could not currently be reached until Mr. Helt further reviewed the matter.

                                             /s/ Jason M. Rudd
                                            Jason M. Rudd



                               CERTIFICATE OF SERVICE

       I certify that on September 17, 2018, a true and correct copy of the foregoing document
was served by ECF electronic delivery upon all parties consenting to such service and/or by first
class U.S. mail upon all parties:

Reagor-Dykes Auto Group
1215 Ave. J
Lubbock, Tx 79401
(via first class mail)

Marcus Allen Helt
Foley & Lardner, LLP
2021 McKinney Ave., Ste. 1600
Dallas, TX 75201
Attorney for Debtors
(via ECF)

United States Trustee
1100 Commerce Street, Room 9C60
Dallas, TX 75242


                                             /s/ Jason M. Rudd
                                            Jason M. Rudd




MOTION TO LIFT STAY                                                                       PAGE 8
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 9 of 35
                                                                                   32




              EXHIBIT A
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 10 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 11 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 12 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 13 of 35
                                                                                    32




               EXHIBIT B
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 14 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 15 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 16 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 17 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 18 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 19 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 20 of 35
                                                                                    32




               EXHIBIT C
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 21 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 22 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 23 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 24 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 25 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 26 of 35
                                                                                    32




               EXHIBIT D
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 27 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 28 of 35
                                                                                    32




                EXHIBIT E
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 29 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 30 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 31 of 35
                                                                                    32




                EXHIBIT F
Case 18-50214-rlj11 Doc 271
                        266 Filed 09/17/18   Entered 09/17/18 23:54:04
                                                              16:54:34   Page 32 of 35
                                                                                    32
Case 18-50214-rlj11 Doc 271 Filed 09/17/18   Entered 09/17/18 23:54:04   Page 33 of 35



  

  

  

  

  

  

  

  

  

  

  

  


                                 EXHIBIT G
  
Case 18-50214-rlj11 Doc 271 Filed 09/17/18   Entered 09/17/18 23:54:04   Page 34 of 35
Case 18-50214-rlj11 Doc 271 Filed 09/17/18   Entered 09/17/18 23:54:04   Page 35 of 35
